                          Case 18-71255          Doc 20   Filed 09/28/18 Entered 09/28/18 12:06:24          Desc Main
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                                                           UNITED STATES BANKRUPTCY COURT
                                                             WESTERN DISTRICT OF VIRGINIA
                                                                   ROANOKE DIVISION

                                  IN RE:

                                  MACTANZ, INC.,                                            Chapter 11
                                                                                            Case No. 18-71255
                                           Debtor(s).

                                                        OFFICERS AND DIRECTORS SALARY REPORT



                                  Robert E. Rotanz- President:        $125,000 gross salary per year
                                  Robert Dishaw – Vice President:     $125,000 gross salary per year
                                  Wendy Rotanz – Sec./Treas.:         $ 25,000 gross salary per year


                                  Date: September 28, 2018                   Respectfully submitted,

                                                                             MACTANZ, INC.


                                  By: /s/ Andrew S. Goldstein
                                  MAGEE GOLDSTEIN LASKY & SAYERS, P.C.
                                  Andrew S. Goldstein, Esq. (VSB #28421)
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                                  Proposed Counsel for the Debtor

                                                                       Certificate of Service

                                                The undersigned hereby certifies that on this 28th day of September, 2018, the
                                   foregoing was electronically filed with the United States Bankruptcy Court, thereby causing
                                   electronic notice upon the United States Trustee and all users of the CM/ECF that have
                                   appeared in this case.
      P.O. Box 404                                                           /s/ Andrew S. Goldstein
Roanoke, Virginia 24003-0404
      540.343.9800

ATTORNEYS AND COUNSELORS AT LAW
